1    WAYNE A. SILVER, Esq. (108135)
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3    Tel. (408) 720-7007
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5    Attorney for Interested Parties:
6    Michael Aymar, Ward T. Bell, Gary T. Cook, Paul Davis, Bryan Dziedziak, Perefrine Asset
     Group, Inc. (Bob Gale as Trustee), John K. Goyak, Ken Hartstein, Mike Kedell, Rene
7    Marasigan, Mayo Family Revocable Trust, Cesar M. Mayo IRA, Michael A. Nicholas (Irvin
     Nicholas as Trustee), Lisa B. Orlandi Living Trust, Lindsey Bianca Orlandi Gift Trust (Lisa B.
8    Orlandi as Trustee), Lauren Bella Orlandi Gift Trust (Lisa B. Orlandi as Trustee), Richard
9    Alexander Orlandi Gift Trust, ROMO, LP (Richard Orlandi as Trustee), Barbara Perkins, Peter
     Silvani, Thornhill Living Trust dated 10/08/98 (Gary Thornhill as Trustee), and Wirth 1984
10   Revocable Trust (Mary Thornhill as Trustee), Andrew Arata, Daniel Arata, Don Arata Nicholas
     Arata, Bachelor Living Trust, Brothers Living Trust (Stephen Brothers as Trustee), Cook
11   Family Trust (Gary T. Cook as Trustee), Economic Concepts (Ken Hartstein as Trustee), Fat
12   Cat Intl. (Steven Gould as Trustee), Kedell Family Trust (Mike Kedell as Trustee), K-Fab, Inc.
     (Mike Kedell as Trustee), Ron Laupheimer 401K PSP, Misser Irrevocable Trust (Linda Misser
13   as Trustee), Diana Pacheco, Pat San Juan Living Trust, Susan Suttle Living Trust, Ron Wills,
     Donna Wills, Richard Roberts, WTB Limited Partnership I (Ward T. Bell as Trustee),
14   WTKBJT, LLC (Ward T. Bell as Trustee), WTBA Profit Sharing Plan (Ward T. Bell as
15   Trustee), ECI Investment Advisors Inc. DBPP (Ken Hartstein as Trustee), and ECI Pension
     Services LLC DBPP (Ken Hartstein as Trustee).
16
17
                              UNITED STATES BANKRUPTCY COURT
18
                              NORTHERN DISTRICT OF CALIFORNIA
19
20   In re:                                         )   Case No.: 08-31002
                                                    )   (Chapter 11)
21   BDB MANAGEMENT III, LLC                        )
                                                    )   NOTICE OF APPEARANCE AND
22            Debtor-in-possession.                 )   REQUEST FOR SPECIAL NOTICE
23                                                  )
                                                    )
24
              Pursuant to Bankruptcy Rule 2002(g), Interested Parties Michael Aymar, Ward T. Bell, Gary
25
     T. Cook, Paul Davis, Bryan Dziedziak, Perefrine Asset Group, Inc. (Bob Gale as Trustee), John K.
26
     Goyak, Ken Hartstein, Mike Kedell, Rene Marasigan, Mayo Family Revocable Trust, Cesar M.
27
     Mayo IRA, Michael A. Nicholas (Irvin Nicholas as Trustee), Lisa B. Orlandi Living Trust, Lindsey
28
                                               Page 1
     Notice Of Appearance And Request For Special Notice
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1    Bianca Orlandi Gift Trust (Lisa B. Orlandi as Trustee), Lauren Bella Orlandi Gift Trust (Lisa B.
2    Orlandi as Trustee), Richard Alexander Orlandi Gift Trust, ROMO, LP, Barbara Perkins, Peter
3    Silvani, Thornhill Living Trust dated 10/08/98 (Gary Thornhill as Trustee), and Wirth 1984
4    Revocable Trust (Mary Thornhill as Individual and Successor in Interest), Don Arata, (Don Arata as
5    Trustee for Nicholas Arata, Andrew Arata, and Daniel Arata), Bachelor Living Trust, Brothers
6    Living Trust (Stephen Brothers as Trustee), Cook Family Trust (Gary T. Cook as Trustee),
7    Economic Concepts (Ken Hartstein as Trustee), Fat Cat Intl. (Steven Gould as Trustee), Kedell
8    Family Trust (Mike Kedell as Trustee), K-Fab, Inc. (Mike Kedell as Trustee), Ron Laupheimer
9    401K PSP, Misser Irrevocable Trust (Linda Misser as Trustee), Diana Pacheco, Pat San Juan Living
10   Trust, Susan Suttle Living Trust, Ron Wills, Donna Wills, Richard Roberts, WTB Limited
11   Partnership I (Ward T. Bell as Trustee), WTKBJT, LLC (Ward T. Bell as Trustee), WTBA Profit
12   Sharing Plan (Ward T. Bell as Trustee), ECI Investment Advisors Inc. DBPP (Ken Hartstein as
13   Trustee), and ECI Pension Services LLC DBPP (Ken Hartstein as Trustee) hereby appear and
14   request that the undersigned attorney be added to the official mailing matrix and service lists for the
15   above-captioned Case. All pleadings, motions, notices, and other papers, filed and/or served in the
16   above-captioned Case, should be served as follows:
17   WAYNE A. SILVER, Esq.
18   333 W. El Camino Real, Suite 310
     Sunnyvale, California 94807
19
20   Dated: July 23, 2008
21                                                         /s/ Wayne A. Silver
                                                           Wayne A. Silver, Attorney for Creditors
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                                               Page 2
     Notice Of Appearance And Request For Special Notice
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